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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                       :
DONALD J. TRUMP FOR                                    :
PRESIDENT, INC., et al.,                               :
                                                       :        NO. 2:20-cv-00966-NR
                              Plaintiffs,              :
                                                       :
                v.                                     :
                                                       :
KATHY BOOCKVAR, et al.,                                :
                                                       :
                              Defendants.              :
                                                       :

               JOINDER OF THE BUCKS, CHESTER, MONTGOMERY, AND
                  PHILADELPHIA COUNTY BOARDS OF ELECTIONS
                       IN CERTAIN BRIEFS AND ARGUMENTS

       Defendants the Boards of Elections of Bucks, Chester, Montgomery and Philadelphia

Counties hereby join in the following briefs and arguments filed by certain other defendants and

intervenors:

       1.       Secretary of the Commonwealth Kathy Boockvar’s Reply in Support of Motion to

                Dismiss Amended Complaint (ECF 336);

       2.       Certain Defendant Counties’ Reply Brief in Support of Motion to Dismiss

                Amended Complaint (ECF 341);

       3.       The arguments for Colorado River abstention set forth in the Motion to Dismiss

                Plaintiffs’ Amended Complaint by Intervenors NAACP Pennsylvania State

                Conference, Common Cause Pennsylvania, League of Women Voters of

                Pennsylvania, Patricia M. DeMarco, Danielle Graham Robinson, and Kathleen

                Wise (ECF 288) and Reply Memorandum in Further Support of Motion to

                Dismiss Plaintiffs’ Amended Complaint by Intervenors NAACP Pennsylvania
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               State Conference, Common Cause Pennsylvania, League of Women Voters of

               Pennsylvania, Patricia M. DeMarco, Danielle Graham Robinson, and Kathleen

               Wise (ECF 345);

      4.       Reply Brief in Support of Motion to Dismiss of Defendant-Intervenors Citizens

               for Pennsylvania’s Future and Sierra Club (ECF 346); and

      5.       Reply Brief in Support of Intervenors Michael Crossey, Dwayne Thomas, Irvin

               Weinreich, Brenda Weinreich, and the Pennsylvania Alliance for Retired

               American’s Motion to Dismiss Amended Complaint Pursuant to Fed. R. Civ. P.

               12(b)(1) and 12(b)(6) (ECF 347).




Dated: August 11, 2020                     HANGLEY ARONCHICK SEGAL
                                           PUDLIN & SCHILLER

                                           By:        /s/ Mark A. Aronchick
                                                     Mark A. Aronchick
                                                     Michele D. Hangley
                                                     John B. Hill*
                                                     One Logan Square, 27th Floor
                                                     Philadelphia, PA 19103
                                                     Telephone: (215) 496-7050
                                                     Email: maronchick@hangley.com

                                           Counsel for Bucks, Chester, Montgomery, and
                                           Philadelphia County Boards of Elections

                                           * Pro hac vice motion to be filed




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